                        Fourth Court of Appeals
                                San Antonio, Texas
                                    JUDGMENT
                                  No. 04-24-00403-CV

                                  Lydia MARTINEZ,
                                       Appellant

                                          v.

                          33 REAL CONSTRUCTION LLC,
                                    Appellee

                From the County Court at Law No. 2, Webb County, Texas
                          Trial Court No. 2024CVD000002L2
                      Honorable Victor Villarreal, Judge Presiding

         BEFORE JUSTICE CHAPA, JUSTICE RIOS, AND JUSTICE WATKINS

    In accordance with this court’s opinion of this date, this appeal is DISMISSED FOR
WANT OF PROSECUTION. We order all costs of this appeal to be taxed against appellant.

      SIGNED August 21, 2024.


                                           _________________________________
                                           Luz Elena D. Chapa, Justice
